                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

  AMERICAN ASSOCIATIONS OF
  UNIVERSTIY PROFESSORS, ET AL.,

                                            Plaintiffs,   No. 1:25-cv-10685-WGY
  v.

  MARCO RUBIO, in his official capacity as
  Secretary of State, and the DEPARTMENT OF
  STATE, ET AL.,

                                         Defendants.


                 MOTION TO RECONSIDER ORDER GRANTING
            ENTRY OF PROTECTIVE ORDER FOR THE PRODUCTION OF
          DOCUMENTS AND EXCHANGE OF CONFIDENTIAL INFORMATION

       Defendants respectfully request the Court reconsider its decision, at docket number 147, to

grant Plaintiffs’ Motion for entry of a Protective Order for the Production of Documents and

Exchange of Confidential Information (Dkt # 128) and its implied denial of Defendants’ response

objecting and containing an alternative proposed motion on the same subject (Dkt. # 135).

Plaintiffs’ protective order included unnecessary and unduly burdensome provisions at Paragraphs

6(h) and 7 that are already slowing the pace of document production and will interfere with the

Government’s ability to efficiently litigate this case. Additionally, Plaintiffs’ justification for

paragraph 7 is moot given this Court’s orders protecting witnesses and nonparties. These onerous

and unnecessary provisions are wholly incompatible with expedited Rule 65(a)(2) proceedings and

the limited time remaining before trial. So, Defendants ask the Court to vacate its order at Docket

Number 147, and enter Defendants’ protective order, found at Exhibit A of Defendants’ response

(Dkt # 135 attached as Exhibit 1 to this motion), which is materially identical to Plaintiffs’, except

it omits Paragraphs 6(h) and 7.

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       The negative consequences to the Government’s ability to litigate this expedited Rule

65(a)(2) case are immediate. For example, the Government inadvertently left the administrative

arrest warrant in Badar Khan Suri’s case out of its sealed administrative record. It has prepared a

new filing with a new certification to provide this document under seal. But now, given the

approval of Plaintiffs’ version of the protective order, under Paragraph 6(h) the Government must

contact Badar Khan Suri to permit him to review the document for personally identifiable

information before it can be filed even though it will be filed under seal and the Government will

make any necessary PII redactions. See Exhibit 1 at 2-3. This further delays the Government’s

ability to provide documents to the Court fewer than two weeks before trial is set to begin. The

process will need to be duplicated for every document containing PII filed with the Court whether

on the public docket, under seal, or in camera. See id. It will be further complicated by the need to

redact privileged or classified portions of documents intended to be filed only in camera, before the

individual with PII views the document. See id. And the reviewing individuals might raise

objections to the redacted portions of those documents, which would further delay proceedings.

This provision is wholly unnecessary and incompatible with expedited Rule 65(a)(2) proceedings.

The Government has taken the position that it does not object to permitting inspection by

individuals to whom the PII pertains for publicly filed documents, but the same should not apply to

sealed or in-camera filings. See Exhibit 1 at 2.

       Paragraph 7 requires the parties to maintain indefinitely a log of individuals, other than

counsel of record their staff, who are granted access to Designated Information. Not only is this

provision unworkable as it would complicate the Defendants’ lawyers’ ability to consult with them,

but it was also premised on Plaintiffs’ misrepresentation of a protective order in another case: Doe

v. Noem, No. 1:25-cv-10495 (D. Mass.), ECF No. 57 (Exhibit B to attached Exhibit 1). See

Plaintiffs’ Mot., Dkt. 128 at 4. Plaintiffs state “in another case currently pending in this District the

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same defendants agreed to a stipulated protective order that contains a similar logging

requirement” and added that the Government’s “refusal to do so here is unjustified”. See Plaintiffs’

Mot. at 4. Contrary to Plaintiffs’ mischaracterization, the protective order there (also involving the

Government and immigration issues) permits sharing confidential information with employees or

agents of the parties without a recording requirement. See Exh 1, Exh. B, ¶ 3(c). The only persons

who need to execute an agreement and for whom counsel must record and log access to

confidential information are “outside independent persons,” id. ¶ 5 (presumably referencing ¶ 2(c)

in error and intending to reference ¶ 3(c)), which is something the Government does not oppose and

indeed had initially proposed to include in Paragraph 7. So, in Doe v. Noem, the recordkeeping

requirement was not onerous because there was a limited number of people required to be logged,

and it did not interfere with counsels’ ability to confer with their agency clients. Such is not the

case with the protective order the Court approved today at Plaintiffs’ request.

       Additionally, Plaintiffs’ justification for Paragraph 7 is moot. Plaintiffs claim Paragraph 7 is

necessary “because of the risk that the government will use information about Plaintiffs’ noncitizen

witnesses (and any other noncitizens whose information is disclosed in discovery) for enforcement

purposes rather than solely for defending this action.” Plaintiffs’ Mot., Dkt. # 128 at 3. But the

Government has stated that it will not retaliate against any witnesses who testify in this case, see

Response to Motion for Protective Order Barring Retaliation and Restricting Defendants' Use of

Information Disclosed in the Course of Litigation, Dkt. # 119 at 1. The Court also granted

Plaintiffs’ prior motion for a protective order stating that “[n]o noncitizen providing evidence shall,

by reason thereof, suffer any adjustment in their immigration status.” Dkt. # 124. Additionally, the

Court has repeated the admonition in its recent order reminding the parties that it “has already

entered a protective order to guard those giving testimony from retribution.” Dkt. # 139. Finally,

the Court granted the Plaintiffs’ unopposed motion for an attorneys’ eyes-only protective order

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providing additional protection to non-testifying individuals identified by Plaintiffs’ witnesses. See

Dkt. # 148 and 145. The actual function Plaintiffs’ paragraph 7 serves is to further hamper the

Government’s ability to litigate this case reasonably within the remaining number of days before

trial.

         For these reasons, the Government requests that the Court vacate its decision at Docket 147

and enter the General Protective Order without Plaintiffs’ proposed Paragraphs 6(h) and 7 (Exh. 1,

Exh. A).




Respectfully Submitted,

 BRETT A. SCHUMATE                                 WILLIAM KANELLIS
 Assistant Attorney General

 DREW C. ENSIGN                                    Ethan B. Kanter
 Deputy Assistant Attorney General                 ETHAN B. KANTER
                                                   Chief, National Security Unit
 LEAH B. FOLEY                                     Office of Immigration Litigation
 United States Attorney                            Civil Division, U.S. Department of Justice
                                                   P.O. Box 878, Ben Franklin Station
 SHAWNA YEN                                        Washington, D.C. 20001
 Assistant United States Attorney
 District of Massachusetts                         PAUL F. STONE
                                                   Deputy Chief, National Security Unit
                                                   Office of Immigration Litigation



 Dated: June 23, 2025                              Counsel for Defendants




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                                 L.R. 7.1(a)(2) CERTIFICATION

       I, Ethan B. Kanter, hereby certify that Government counsel conferred with Plainitffs’

counsel regarding this motion on June 23, 2025 and were unable to resolve or narrow the issues.



Date: June 23, 2025                                    By: /s/ Ethan B. Kanter
                                                       ETHAN B. KANTER
                                                       U.S. Department of Justice


                                   CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing.



Date: June 23, 2025                                           By: Ethan B. Kanter
                                                              ETHAN B. KANTER
                                                              Chief, National Security Unit
                                                              Office of Immigration Litigation
                                                              P.O. Box 878, Ben Franklin Station
                                                              Washington, D.C. 20001




                                                   5
Exhibit 1
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

  AMERICAN ASSOCIATIONS OF
  UNIVERSTIY PROFESSORS, ET AL.,

                                           Plaintiffs,   No. 1:25-cv-10685-WGY
  v.

  MARCO RUBIO, in his official capacity as
  Secretary of State, and the DEPARTMENT OF
  STATE, ET AL.,

                                       Defendants.


RESPONSE TO PLAINTIFFS’ MOTION FOR ENTRY OF A PROTECTIVE ORDER FOR
   THE PRODUCTION OF DOCUMENTS AND EXCHANGE OF CONFIDENTIAL
                           INFORMATION

       Plaintiffs have requested that the Court enter a Protective Order for the Production of

Documents and Exchange of Confidential Information (“General Protective Order”), containing

two provisions which are unnecessary and would impose undue burdens on the Government’s

ability to efficiently litigate this case and safeguard sensitive information. Dkt. 128. The

Government therefore objects to inclusion of these provisions, discussed in further detail below, in

the General Protective Order to be entered by the Court.

       The Government agrees with the need to protect all confidential information that is

exchanged in discovery or filed in this case. Government counsel have worked with Plaintiffs’

counsel in good faith to reach terms agreeable to all parties, and the parties have come to a near

consensus. The outstanding provisions, or partial provisions, on which the parties have failed to

reach agreement are:

       (1)    Plaintiffs’ proposal in paragraph 3 to restrict the use of information obtained outside

of this litigation if such information was “derived from, obtained based on, or obtained in reliance

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on information disclosed in this case;”

        (2)       Plaintiffs’ proposal in paragraph 6(h) to require that any document containing

personally identifiable information (“PII”) that a party intends to file with the Court first be made

available for inspection by the individual to whom that PII belongs, including non-parties to this

litigation; and

        (3)       Plaintiffs’ proposal in paragraph 7 that the parties log the name and title of each

person, other than counsel of record and their support staff, who is given access to any Designated

Information produced by the other party, and the date that access is granted.

        Regarding proposed Paragraph 3 of the General Protective Order, the Government no

longer objects to Plaintiffs’ addition of the following clause: “so long as such information was not

derived from, obtained based on, or obtained in reliance on information disclosed in this case.” And

that clause is contained in Defendants’ proposed order found at Exhibit A.

        Regarding Paragraph 6(h), Plaintiffs assert a need for “individuals with privacy interest in

the PII” to be able to review any documents containing their PII prior to filing to ensure their

information is sufficiently redacted. Dkt. 128 at 5. The problem is the proposal allows individuals

to view documents filed under seal or in camera. Under this proposal, Plaintiffs aver that these

individuals would be able to review their PII only, and nothing else in the document. Id. To the

extent that the Government submits any filings containing PII on the Court’s public docket, the

Government has no objection to allowing inspection by the individual to whom the PII pertains and

ensuring that all necessary redactions for PII are applied. But, the same need does not apply to

sealed or in camera filings, which are highly sensitive by their nature and necessarily protected

from public disclosure. Indeed, in the case of in camera, ex parte filings, the documents are even

protected from access by counsel for the non-filing party.

        Plaintiffs have shown no need for why non-parties to this case should be granted access to

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even portions of documents filed under seal or in camera, which potentially contain sensitive

national security, law enforcement or deliberative information, and which are likely privileged. To

the extent that Plaintiffs are concerned about the need for obtaining privacy waivers from specific

non-party individuals in order to receive discovery relating to those individuals, the Privacy Act of

1974 permits disclosure of protected information “pursuant to the order of a court of competent

jurisdiction.” 5 U.S.C. 552a(b)(11). It is the understanding of undersigned counsel that disclosure

in this litigation of any immigration records pertaining to specific individuals pursuant to the

Court’s June 2 ruling ordering discovery would fall under that exception. Plaintiffs’ concerns

about obtaining privacy waivers from individual non-parties therefore does not justify the inclusion

of Paragraph 6(h) in the General Protective Order. Finally, persons should not be permitted to use

a refusal to sign a privacy waiver to obtain access to portions of non-public, potentially privileged

documents and documents filed in camera.

       As for Paragraph 7, Plaintiffs’ proposal that the parties maintain a log of individuals, other

than counsel of record and their staff, who are granted access to any Designated Information is

unworkable. Plaintiffs’ lawsuit encompasses two agencies with myriad employees who are

assigned, at varying times, to handle different aspects of this case – all of whom will be subject to

the General Protective Order ultimately entered by the Court. It would be unduly burdensome to

require Government counsel, less than one month before trial, to track the distribution through each

agency of every document designated as Confidential by Plaintiffs. It would also hinder

Government counsel’s ability to effectively and efficiently communicate with their clients. The

Government has maintained that it will not retaliate against any witnesses who testify in this case,

see Dkt. # 119 at 1 (Response to Motion for Protective Order Barring Retaliation and Restricting

Defendants' Use of Information Disclosed in the Course of Litigation), and the Court has also

entered an Order that “No noncitizen providing evidence shall, by reason thereof, suffer any

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adjustment in their immigration status.” Dkt. # 124. Any concerns on Plaintiffs’ part of retaliation

should therefore be alleviated. Finally, Plaintiffs misrepresent the protective order in Doe v. Noem,

No. 1:25-cv-10495 (D. Mass.), ECF No. 57. The protective order there permits confidential

information to be shared with employees or agents of the parties without a recording requirement.

(Exhibit B, ¶ 3(c)). The only persons who need to execute an agreement and for whom counsel

must record and log access to confidential information are “outside independent persons,” id. ¶ 5

(Exhibit B) (presumably referencing ¶ 2(c) in error and intending to reference ¶ 3(c)), which is

something the Government does not oppose and indeed had initially proposed to include in

Paragraph 7. So, in that case the recordkeeping requirement was not onerous because there was a

limited number of persons required to be logged, and it did not interfere with counsels’ ability to

confer with their agency clients. Such is not the case with Plaintiffs’ proposal here.

       For all of these reasons, the Government requests that the Court enter the General Protective

Order without Plaintiffs’ proposed Paragraphs 6(h) and 7. See Exhibit A.




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Respectfully Submitted,

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 Assistant Attorney General
                                            Ethan B. Kanter
 DREW C. ENSIGN                             ETHAN B. KANTER
 Deputy Assistant Attorney General          Chief, National Security Unit
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 SHAWNA YEN
 Assistant United States Attorney           PAUL F. STONE
 District of Massachusetts                  Deputy Chief, National Security Unit
                                            Office of Immigration Litigation

 Dated: June 11, 2025

                                            Counsel for Defendants




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                                   CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing.



Dated: June 11, 2025                                          By: Ethan B. Kanter
                                                              ETHAN B. KANTER
                                                              Chief, National Security Unit
                                                              Office of Immigration Litigation
                                                              P.O. Box 878, Ben Franklin Station
                                                              Washington, D.C. 20001
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                Exhibit A
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

AMERICAN ASSOCIATION OF UNIVERSITY
PROFESSORS, ET AL.,

                           Plaintiffs,                           Case No. 1:25-cv-10685 (WGY)

          v.

MARCO RUBIO, ET AL.

                           Defendants.


  [PROPOSED] PROTECTIVE ORDER FOR THE PRODUCTION OF DOCUMENTS
           AND EXCHANGE OF CONFIDENTIAL INFORMATION

       The Court, having found that good cause exists for issuance of an appropriately tailored

confidentiality order governing the pre-trial phase of the above-captioned action American

Association of University Professors (“AAUP”), et al. v. Marco Rubio, et al., Case No. 25-cv-

10685-WGY (“Litigation” or “Action”), which may involve discovery of documents, information

and tangible things, that Plaintiffs or Defendants (collectively, the “Parties”) may reasonably

believe in good faith to be protected from disclosure to the public or to one or more of the Parties

under Rule 26(c) of the Federal Rules of Civil Procedure, sets forth the following Order to facilitate

the discovery process by protecting against the unauthorized disclosure of confidential information

and the potential injury caused by such disclosure.

       The Parties, by and among their respective counsel, having stipulated and agreed to the

terms set forth herein, and good cause having been shown, it is hereby ORDERED that any person

subject to this Order—including without limitation the Parties to this action, their attorneys,

representatives, agents, experts and consultants, acting as such, all non-parties (“Third Parties” or

“Third Party” singular), providing discovery in this action, and all other interested persons with



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actual or constructive notice of this Order—shall adhere to the following terms, upon pain of

contempt:

                                                ORDER

       Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, all discovery and other

materials exchanged by the Parties or Third Parties, or filed with the Court in this Action shall be

provided subject to the conditions set forth in this Order.

       1. Scope of Order.1 The following terms, conditions, procedures, and restrictions govern

with respect to documents, electronic data, and any other information of any kind produced or

voluntarily exchanged in this Action by any Party or Third Party; all discovery contemplated by

Rules 26 through 36 of the Federal Rules of Civil Procedure, including responses to all written

discovery requests and demands, and deposition testimony and exhibits, however recorded, and

any other written, recorded, or graphic matters (collectively “Discovery Material”).           The

protections conferred by this Order cover not only those portions of any documents containing

Confidential Information (as defined below), but also (a) any information copied or extracted from

those portions of any documents containing Confidential Information; (b) all copies, excerpts,

summaries, or compilations of Confidential Information; and (c) any testimony, conversations, or

presentations by the parties or their counsel that might reveal Confidential Information. However,

the protections conferred by this Order do not cover information that is properly in the public

domain or becomes part of the public domain through trial or otherwise, except as limited by other

agreement of the parties or order of the Court in this action.




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        The headings herein are provided only for convenience and are not intended to define or
limit the scope of the express terms of this Stipulation.


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       2. Designation of Discovery Material as Confidential Material.            The           party

producing Discovery Material (the “Producing Party”) may designate as Confidential Material any

portion thereof that contains any information that the Producing Party, in good faith, believes

should be protected from disclosure by the receiving party (the “Receiving Party”), including but

not limited to the following categories of information:

       a. An individual’s social security number, personal identification numbers, tax

           identification number, alien registration number (“A number”), passport numbers,

           driver license numbers, and any similar identifiers assigned to the individual by the

           federal government, a state or local government of the United States, or the government

           of any other country;

       b. Birth dates;

       c. Any information, document, or tangible thing that is or reveals (i) a trade secret or other

           confidential research, development, or commercial information, as such terms are used

           in Federal Rule of Civil Procedure 26(c)(1)(G), or (ii) non-public proprietary

           information purchased or obtained from a private entity;

       d. Photographs of any person;

       e. Names of any individuals known to be under 18 years of age;

       f. Addresses and telephone numbers;

       g. Information, documents or tangible things that the Court may order produced, but

           which are protected by federal privacy laws and regulations, including, but not limited

           to, the Privacy Act, 5 U.S.C. § 552a, et seq. and other laws or regulations that may

           prevent disclosure of specific information related to noncitizens, including but not

           limited to:    8 U.S.C. §§ 1160(b)(5), (6); 1186A(c)(4), 1202(f), 1254a(c)(6),



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    1255a(c)(4), (5); 1304(b), and 1367(a)(2), (b), (c), (d); 22 U.S.C. §7105(c)(1)(C); 8

    C.F.R. §§ 208.6, 210.2(e), 214.11(e), 214.14(e), 216.5(e)(3)(viii), 236.6, 244.16,

    245a.2(t), 245a.3(n), 245a.21, 1003.27(b)-(d), 1003.46, and 1208.6, which otherwise

    could subject either party to civil or criminal penalties or sanctions in the event of

    unauthorized disclosure;

 h. Any sensitive, but unclassified, information or documents, to include “Limited

    Official Use” or “For Official Use Only” information;

 i. Information, documents or tangible things, which may include, among other things,

    records regarding federal law enforcement activities and operations, guidelines for law

    enforcement operations, law enforcement training materials, and internal law

    enforcement investigations.

 j. Any information compiled for law enforcement purposes, including but not limited to,

    investigative files and techniques related to the integrity of the legal immigration

    system, suspected or known fraud, criminal activity, public safety, or national security.

 k. Any information, documents, or tangible things filed under seal or otherwise protected

    from public docketing (such as under Fed. R. Civ. P. 5.2(c) and D. Mass. General Order

    19 02, “Standing Procedural Order Re: Public Access to Immigration Cases Restricted

    By Federal Rules of Civil Procedure 5.2(C)” (June 1, 2019)) in other litigation;

 l. Bank account numbers, credit card numbers, and other financial information that can

    be specifically linked to an individual’s or entity’s financial account;

 m. Medical information, such as medical records, and information, documents, or tangible

    things revealing medical treatment and diagnoses;




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       n. Any other personally identifiable information protected under Federal Rule of Civil

            Procedure 5.2 and Local Civil Rule 83.6.11;

       o.   Information, documents or tangible things, which may include, among other things,

            Department of State and Department of Homeland Security documents regarding

            national security vetting which may include sensitive information related to national

            security and law enforcement investigations and practices; and information or records

            pertaining to the issuance, refusal, or revocation of visas protected under 8 U.S.C. §

            1202(f).

       p. All other documents, information or tangible things not identified above that any Party

            to this action contends in good faith contain confidential information, as well as copies

            or summaries of such information or materials that otherwise reveal the contents of

            such information, that the Party would not ordinarily disclose and which should be

            protected from disclosure under Federal Rule of Civil Procedure 26(c).

The Producing Party must give notice of material that is Confidential in the manner set forth in

paragraph 5 below. Further, a Party may designate material obtained from a Third Party pursuant

to this Order (the “Designating Party”), if it believes in good faith that it qualifies as Confidential

under this Order.

       3. Access to and Use of Confidential Information. The duty of the Party or Parties

receiving the Confidential Material) and of all other persons bound by this Order to maintain the

confidentiality of the Protected Material so designated shall commence upon receipt of the

Protected Material. No person subject to this Protective Order may disclose, in public or private,

any Protected Material so-designated by a Party as Confidential, except as provided for in this

Order or as further provided by the Court. Use of any information or documents subject to this



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Protective Order, including all information derived therefrom, shall be restricted to use in this

litigation and shall not be used by anyone subject to the terms of this agreement, for any purpose

outside of this litigation or in any other proceeding between the parties or involving either of the

parties. Nothing in this Protective Order shall limit or in any way restrict the use of information

obtained outside of this litigation, so long as such information was not derived from, obtained

based on, or obtained in reliance on information disclosed in this case.

       4. Method of Designation: Protected Material shall be so designated, whenever possible,

either by stamping or otherwise clearly marking as “CONFIDENTIAL PURSUANT TO

PROTECTIVE ORDER.” In the case of material contained in or on media other than paper, the

Producing Party shall affix a label to the material or use its best efforts to identify the material as

Confidential Material. For interrogatory answers and responses to requests for admissions,

designation of Confidential Information shall be made by placing within each interrogatory answer

or response to requests for admission asserted to contain Confidential Information,

“CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER.” With respect to testamentary

evidence, whether testimonial or in the form of an Exhibit used in a testamentary proceeding, such

evidence may be designated as Confidential either by a statement on the record of the deposition

or in writing within ten (10) business days of receipt of the transcript. Transcripts of testamentary

evidence and exhibits attached thereto shall be treated as Confidential Information in their entirety

until the expiration of the above-referenced 30-day period for designation, except that, during the

10-day period, the individual offering testamentary evidence (and his or her counsel, if any) may

review the transcript of such proceeding and exhibits attached thereto, provided the individual

signs the “Acknowledgement and Agreement to be Bound” (Exhibit A).




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       5. Treatment of Notes on Designated Material: To the extent notes are made that

memorialize, in whole or in part, the Protected Material, or to the extent copies are made for any

use authorized under this Order, such notes, copies, or reproductions shall become Protected

Information subject to the Protective Order and must be handled in accordance with the terms of

the Protective Order.

       6. Access to Confidential Material. Only the following persons shall have access to or

retain material designated as Confidential pursuant to this Order:

       a. the Court and its staff;

       b. Defendants, Defendants’ employees to whom disclosure is reasonably necessary for

           this litigation, Defendants’ counsel in this action and any support staff and other

           employees of such counsel assisting in this action with an appropriate need to know.

       c. Plaintiffs, Plaintiffs’ employees to whom disclosure is reasonably necessary for this

           litigation, Plaintiffs’ counsel of record in this action and any support staff and other

           employees of such counsel assisting in this action with an appropriate need to know.

       d. counsel retained specifically for this Action, and their associated attorneys, paralegals

           and other professional personnel (including support staff) who are directly assisting

           such counsel in the preparation of this Action and are under the supervision or control

           of such counsel, and who have been advised by such counsel of their obligations

           hereunder;

       e. experts and consultants retained by the Parties or their counsel to furnish technical or

           expert services in connection with this Action or to give testimony with respect to the

           subject matter of this Action at the trial of this Action or other proceeding herein (and

           the experts’ or consultants’ staff whose duties and responsibilities require access to



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           such materials), and who have been advised by counsel of their obligations hereunder

           and have first executed the “Acknowledgement and Agreement to be Bound (Exhibit

           A);

       f. a witness who counsel for a Party in good faith believes may be called to testify at a

           deposition or trial in this Action, provided such person has first executed the

           ”Acknowledgement and Agreement to be Bound” (Exhibit A);

       g. stenographers, videographers, and translators engaged to transcribe, record and

           translate depositions conducted in this Action who have been advised by counsel of

           their obligations hereunder and have first executed the “Acknowledgment and

           Agreement to be Bound” (Exhibit A);

       h. individuals (and their counsel) whose personally identifying information is contained

           within materials that the Parties have filed or intend to file on the public docket in this

           action, limited to confidential information regarding their own personally identifying

           information, and excluding access to other confidential information unrelated to their

           personally identifying information since they are not parties to this suit, unless agreed

           upon by both parties to access such additional information; and,

       i. any other person agreed to in writing by the Parties.

       7. Recordkeeping for Individuals Who Have Been Granted Access to Designated

Information: Counsel for each party shall record in a log the name and title of each person, other

than counsel of record and their support staff,expert, consultant, and prospective witness who is

given access to any Designated Information produced by the other party pursuant to Paragraph

5(e) and Paragraph 5(f) above, as well as the date that access is granted, and the reason for granting

access. Counsel shall exchange preserve these logs indefinitely at the final pretrial conference and



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monthly thereafter until the determination of any appeal in this matter or until the time for appeal

has run.

         8.7.    Procedure for Challenging Designations. The Parties shall meet and confer

regarding any dispute over designations, after which the objecting party may seek de-designation

by the Court. The designated material shall continue to be treated in accordance with the original

designation until the issue is resolved by an order of this Court or by agreement of the Parties. The

Producing Party may authorize, in writing, disclosure of Protected Material produced by the

Producing Party beyond that is otherwise permitted by this Order without further Order of this

Court.

         9.8.    Filing Protected Materials in this Action. Before filing Confidential Information

with the Court, or discussing or referencing such material in court filings, the filing party shall

confer with the designating party (where practical, at least seven days prior to the intended filing

date ) to determine whether the designating party will remove the confidential designation, whether

the document can be redacted, or whether a motion to seal or stipulation and proposed order is

warranted. Local Civil Rule 83.6.11(b) sets forth the procedures that must be followed and the

standards that will be applied when a party seeks permission from the Court to file material under

seal.

         10.9.   Inadvertent Disclosure of Protected Materials. If, upon promptly discovering

that Confidential Information was inadvertently produced prior to the trial of this Action, a

Producing Party realizes that some portion of Discovery Material that was previously produced

without limitation should be designated as Confidential the Producing Party may so designate that

portion promptly by notifying all parties in writing. Such designated portion of the Discovery

Material will thereafter be treated as Confidential under the terms of this Order. In addition, the



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Producing Party shall provide each Party with replacement versions of such Discovery Material

that bears the Confidential designation within five (5) business days of providing such notice.

       11.10. Limitations on the Use of Protected Materials. A receiving party may use

Confidential Information that is disclosed or produced by another party or by a non-party in

connection with this case only for pursuing, defending, or attempting to settle this litigation. It

shall not be disseminated outside the confines of this case, nor shall it be included in any pleading,

record, or document that is not filed under seal with the Court or redacted in accordance with

applicable law. Confidential Information may be disclosed only to the categories of persons and

under the conditions described in this Order. Confidential Information must be stored and

maintained by a receiving party at a location and in a secure manner that ensures that access is

limited to the persons authorized under this Order. The Parties shall access the Protected Material

for the sole purpose of preparing for trial and any appellate proceedings in this Action and for no

other purpose. However, nothing in this Order shall be construed as limiting a producing party’s

right to use and share information that the producing party has designated as confidential for any

lawful purpose.

       12.11. Subpoenas in Other Actions. In the event a Receiving Party having possession,

custody, or control of any Protected Material produced in this Action and designated as

confidential under this protective order receives a subpoena or other process or order to produce

such information, such subpoenaed person or entity shall promptly notify by e-mail the attorneys

of record of the Producing Party and shall furnish those attorneys with a copy of said subpoena or

other process or order. Unless the Producing Party consents, the subpoenaed person or entity shall

not produce the requested Confidential Material, and will instead take the following steps: The

subpoenaed person or entity shall promptly notify in writing the party who caused the subpoena



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or order to issue in the other litigation that some or all of the material covered by the subpoena or

order is subject to this Order and provide a copy of this Order with that notification. The

subpoenaed person or entity shall cooperate with respect to all reasonable procedures sought to be

pursued by the designating party or parties whose Confidential Information may be affected,

including objecting and seeking a protective order in the litigation in which the subpoena or order

was issued.

       13.12. Return or Destruction of Confidential Material. Upon the final disposition of

this Action, any Protected Material shall not be used, in any way, absent a court order. All

materials designated subject to this Order maintained in either Party’s files shall remain subject to

this Order unless and until such order is modified by court order. Within thirty days of the

conclusion of all appeals of this Action, each Party shall return Protected Material to the Producing

Party, certify that all such material has been destroyed, or certify that the materials will be securely

preserved in such a way as to ensure the confidentiality of those materials until they may be

destroyed. In the event that there is a substitution of counsel prior to when such documents must

be returned, new counsel must join this Protective Order before any Confidential Material may be

transferred to the new counsel, who will be bound by the terms of this Order.

       14.13. Modification. This Order may be changed by further order of the Court, and is

without prejudice to the rights of a Party to move, on notice to the other Party, for relief from, or

modification of, any of its provisions, or to seek or agree to different or additional protection for

any particular material or information.

       15.14. Retention of Jurisdiction. The provisions of this order shall not terminate at the

conclusion of this Action and the Court will retain jurisdiction to enforce this Order following

termination of the Action.



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AGREED AND CONSENTED TO:

Attorneys for Plaintiffs


 KNIGHT FIRST AMENDMENT                      SHER TREMONTE LLP
 INSTITUTE

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SO ORDERED

Dated:        ___________________
              Boston, Massachusetts


                                       _________________________________
                                       THE HONORABLE WILLIAM J. YOUNG
                                       UNITED STATES DISTRICT JUDGE




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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.,

                              Plaintiffs,

                 v.                                   C.A. No: 1:25-cv-l 0495-IT

 KRISTI NOEM, in her official capacity as
 Secretary of Homeland Security, et al.,

                              Defendants.


   STIPULATED PROTECTIVE ORDER CONCERNING CONFIDENTIAL DOE PII

        Upon consideration of the Parties' Joint Motion for a Stipulated Protective Order, it is

hereby ORDERED that:

        1.     Any personally identifying information about any of the Doe Plaintiffs ("Doe

PH") is designated as "Confidential" to protect the Doe Plaintiffs' privacy interests.

       2.      "Confidential Doe PII" consists of the following information about the Doe

Plaintiffs as provided by Plaintiffs in the course of this litigation, in connection with any

identification of the Doe Plaintiff as a plaintiff in this litigation: Alien registration numbers, full

names, dates of birth, passport numbers, social security numbers, addresses, account numbers,

application receipt numbers, or the same information concerning any of the Doe Plaintiffs'

relatives.

       3.     Access to any Confidential Doe PII shall be limited to:

       a.     Counsel for the Parties, including in-house counsel and employees and agents of

              such counsel who are required to assist in the conduct of the litigation;




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         b.     Employees or agents of the Parties who have a reasonable need of access to the

                information solely in connection with the prosecution and/or defense ofthis

                Action;

         c.     Outside independent persons (i.e., persons not currently or formerly employed by,

                consulting with, or otherwise associated with any party) who are retained to

                furnish technical or expert services, and/or to give testimony in this Action;

         d.     The Court and court employees, court reporters and stenographic reporters, jurors

                and all persons necessary to the conduct of judicial hearings or the trial of the

                Litigation; and

        e.      Any other person whom counsel collectively agree in writing or whom the Court

                directs may review the Confidential Doe PII.

        3.      Any Plaintiff may voluntarily disclose to others without restriction any

Confidential Doe PII, although the information may lose its confidential status if it is made

public. Any information that Plaintiffs file on the public docket loses any confidential status,

unless such disclosure is inadvertent and corrected.

        4.     Each person designated under paragraph 2(b) or 2(c) shall not further disseminate

Confidential Doe PII. Each person appropriately designated pursuant to paragraph 2(c) to

receive Confidential Doe PII shall execute an agreement to be bound by this Order in the form

attached as Exhibit 1.

        5.     Counsel for each Party shall record in a log the name and title of each person who

is given access to any Confidential Doe PII pursuant to paragraph 2(c), as well as the date that

access is granted and the reason for granting access. Counsel shall exchange these logs on a

monthly basis for the duration of the Litigation.


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         6.      Any party desiring or intending to file with the Court any Confidential Doe PII in

 any motion, brief, letter, transcript, or other paper containing or describing any Confidential

 information, shall do so under seal. The parties shall file in the public docket redacted of any

 proposed sealed filings. The parties shall also promptly submit unredacted courtesy copies of any

 proposed sealed filings to the Clerk's Office, clearly marked NOT FOR DOCKETIN G-

 COURTESY COPY - SEALED FILING.

         7.     Confidential Doe PII exchanged in the course of the Litigation shall be used by

the parties and persons to whom the information is produced solely for the pursuit or defense of

the Litigation. Confidential Doe PII may not be used for any immigration enforcement purpose,

including in any collateral immigration proceeding.

        8.      Nothing herein shall be deemed to waive any applicable privilege or work product

protection, or to affect the ability of a party to seek relief for an inadvertent disclosure of material

protected by privilege or work product protection.

        9.      All provisions of this order restricting the communication or use of Confidential

Doe PII shall continue to be binding after the conclusion of the Litigation, unless otherwise

agreed or ordered. Any party to this Protective Order may apply to this Court for modification of

this order.

        10.    Within thirty (30) days of the conclusion of this Litigation, including but not

limited to the latest of settlement, arbitration, judgment, and all rights of appeal being exhausted,

any materials consisting of or referencing Confidential Doe PII shall be returned to the producing

party or certified as destroyed, except that the Parties' counsel shall be permitted to retain their

working files on the condition that those files will remain protected.




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Entered as an order of the Court this   2I 1y of /JI~/.,      2025.

                                             ~             -/ /4-·
                                               DIRA TALwANI
                                             UNITED STATES DISTRICT JUDGE




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                                               EXHIBIT 1

        I have read and I understand the terms of the Protective Order dated   ______           ___,

filed in Case No. 1:25-cv-l 0495, pending in the United States District Court for the District of
Massachusetts. I agree to comply with and be bound by the provisions of the Protective Order. I
understand that any violation of the Protective Order may subject me to sanctions by the Court.

        I shall not divulge or disseminate any information.,_documents, or copies of documents,
designated "Confidential" obtained pursuant to such Protective Order, or the contents of such
documents, to any person other than those specifically authorized by the Protective Order. I shall
not copy or use such documents except for the purposes of this Action and pursuant to the terms
of the Protective Order. I shall not use or allow to be used any information or document
designated "Confidential" to be used for any immigration enforcement purpose, including any
collateral immigration proceeding.

        As soon as practical, but no later than 30 days after final termination of this Action, I
shall return to the attorney from whom I have received them, any documents in my possession
designated "Confidential," any documents containing information designated as "Confidential,"
and all copies, excerpts, summaries, notes, digests, abstracts, and indices relating to such
documents.

        I submit myself to the jurisdiction of the United States District Court for the District of
Massachusetts for the purpose of enforcing or otherwise providing relief relating to the
Protective Order.



                                               Signed under the pains and penalties of perjury.



                                               Date: [SIGNATURE]

                                               [PRINTED NAME]




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